             Case 1:17-cr-02558-MV Document 123 Filed 03/14/19 Page 1 of 2
                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,


                         Plaintiff,


v.                                                                  Case No. CR 17-2558 MV

ARTHUR PERRAULT,


                         Defendant.

                      DEFENDANT'S PERRAULT’S AMENDED WITNESS LIST

        COMES NOW the Defendant Arthur Perrault, by and through counsel, Samuel L. Winder,

Romero & Winder, P.C. respectfully submits the following list of witnesses which may be called at

trial. 1 Defendant Perrault requests permission to amend this witness list to include additional witnesses

that may be necessary prior to and during trial:


     1. Richard Baca - 45 minutes


     2. FBI Agent Leroy Chavez – 1 hour


     3. Priscilla Padilla Griego – 15 minutes


     4. David Lopez – 30 minutes


     5. Dan Paulos – 1 hour




1
  At the pretrial conference conducted on March 14, 2019, undersigned counsel presented to the Court and the United
States the proposed testimony regarding these witnesses.
           Case 1:17-cr-02558-MV Document 123 Filed 03/14/19 Page 2 of 2
                                                  Respectfully submitted,

                                                  /s/ Samuel. L. Winder
                                                  Samuel L. Winder, Esq.
                                                  Attorney for Defendant Arthur Perrault
                                                  Romero & Winder, P.C.
                                                  1905 Lomas Blvd., NW
                                                  Albuquerque, NM 87104
                                                  (505) 843-9776


I HEREBY CERTIFY that on this 14th day of March 2019, I filed the foregoing electronically through
the CM/ECF system, which caused the following parties or counsel to be served by electronic means, as
more fully reflected on the Notice of Electronic Filing.

Holland S. Kastrin, AUSA
Sean J. Sullivan, AUSA

/s/ Samuel L. Winder
Samuel L. Winder, Esq.




                                                  2
